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Fill in this information to identify the case:

Debtor 1                   SHAWN M LEWELLEN

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:          SOUTHERN                    District of   TEXAS
                                                                                           (State)

Case number              13-31757


Form 4100R
Response to Notice of Final Cure Payment                                                                         (90)                      10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


Part 1:               Mortgage Information

Name of creditor:            BSI FINANCIAL SERVICES                                              Court claim no. (if known)       5

Last 4 digits of any number you use to identify the debtor’s
account: 9703

Property address:            19630 RIVER POINTE LN
                             Number            Street



                             KATY         TX      77449
                             City                           State        Zip Code



Part 2:               Prepetition Default Payments

      Check one:

      Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the creditor’s claim.
       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
      creditor’s claim. Creditor asserts that the total prepetition
      amount remaining unpaid as of the date of this response is:


Part 3:               Postpetition Mortgage Payment

      Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
      the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

           The next postpetition payment from the debtor(s) is due on:              04/01/2018
                                                                                MM / DD / YYYY
      Creditor states that the debtor(s) are not current with all
      postpetition payments consistent with § 1322(b)(5) of the Bankruptcy Code, including all fees, charges, expenses,
      escrow, and costs.


      Creditor asserts that the total amount remaining unpaid as of the date of this response is:

           a. Total postpetition ongoing payments due:                                                                      (a)

           b. Total fees, charges, expenses, escrow, and costs outstanding:                                             +   (b)

           c. Total. Add lines a and b.                                                                                     (c)

           Creditor asserts that the debtor(s) are contractually
           obligated for the postpetition payment(s) that first became
           due on:
                                                                                MM / DD / YYYY
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Debtor 1              SHAWN M LEWELLEN                                                     Case number (if known)    13-31757
                     First Name  Middle Name               Last Name



Part 4:         Itemized Payment History

If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
the creditor must attach an itemized payment history disclosing the following amounts from the date of the
bankruptcy filing through the date of this response:

        all payments received;

        all fees, costs, escrow, and expenses assessed to the mortgage; and

        all amounts the creditor contends remain unpaid.



Part 5:         Sign Here

The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim.

Check the appropriate box:

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.



x       /s/ Harriet L. Langston                                                                   Date       05/23/2018
    Signature

                                                                                                             Attorney for BSI Financial
Print                   /s/ Harriet L. Langston                                                   Title      Services
                        First Name          Middle Name                Last Name


Company                 Codilis & Stawiarski, P. C.


If different from the notice address listed on the proof of claim to which this response applies:


Address                 400 N. Sam Houston Parkway E., Suite 900-A
                        Number         Street

                        Houston                       Tx                       77060
                        City                                State           ZIP Code


Contact phone           281-925-5200                                                              Email      Harriet.Langston@tx.cslegal.com

                                                                                                                                               File #44-17-0380
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                                     CERTIFICATE OF SERVICE

I hereby certify that on 05/23/2018 a true and correct copy of the Response to Notice of Final Cure
Payment via electronic means, if available, otherwise by regular, first class mail to the following parties
at the addresses indicated by deposit in the United States Mail, first class postage prepaid on 05/24/2018.

SHAWN M LEWELLEN
19630 RIVER POINTE LN
KATY, TX 77449
DEBTOR

NIMA TAHERIAN
701 N. POS OAK RD, STE 216
HOUSTON, TX 77024
ATTORNEY FOR DEBTOR

DAVID G. PEAKE
9660 HILLCROFT, SUITE 430
HOUSTON, TX 77096-3856
CHAPTER 13 TRUSTEE

                                               Codilis & Stawiarski, P.C.
                                               /s/ Harriet L. Langston
                                               Harriet L. Langston SBOT 11924400
                                               Annarose Harding SBOT 24071438
                                               Sarah Sibley Cox SBOT 24043439
                                               Lisa L. Cockrell SBOT 24036379
                                               Nicole M. Bartee SBOT 24001674
                                               Cristina Planton Camarata SBOT 16061560
                                               ATTORNEYS FOR RESPONDENT
